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| APR 06 2005 «
UNITED STATES DISTRICT COURT Nic! RMAC, CLER
EASTERN DISTRICT OF ARKANSAS By , HEP CLERK
UNITED STATES OF AMERICA }
} No. 4:04 CR00277 JLH
Vv.
) 18 U.S.C. § 3146(a)(1)
MARY KATHERINE EDELMANN )
)
SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES THAT:
COUNT ONE

On or about November 10, 2004 in the Eastern District of Arkansas,
MARY KATHERINE EDELMANN

knowingly failed to surrender to the United States Marshals Service per an agreement between
MARY KATHERINE EDELMANN and the government made and accepted on the record
before the United States Magistrate Judge J. Thomas Ray on or about October 19, 2004 and by
virtue of a Plea Agreement between MARY KATHERINE EDELMANN and the United States
accepted and filed with the court on or about November 9, 2004, and as so ordered by United
States District Judge William R. Wilson on or about November 9, 2004, and as so ordered by
United States District Judge George Howard, Jr. on November 10, 2004 in relation to her
detention pending sentencing in case number 4:02CR00128 GH and case number 4:04CR00228

WRY\W, thereby violating Title 18, United States Code, section 3146(a){1).

[END OF TEXT. SIGNATURE PAGE TO FOLLOW]
